 The People of the State of Colorado, Petitioner-Appellee,  In the Interest of Preston D. Rubit, Respondent-Appellant. No. 21CA1463Court of Appeals of Colorado, Sixth DivisionNovember 24, 2021
    
               NOT
      PUBLISHED PURSUANT TO C.A.R. 35(e)
    
    
                Pueblo
      County District Court No. 21MH87 Honorable Timothy
      O'Shea, Judge
    
    
               
      OPINION
    
    
               
      WELLING, JUDGE.
    
    
               ORDER
      AFFIRMED.
    
    
                Fox
      and Johnson, JJ., concur.
    
    
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